



Darrough v. State



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-03-242-CR





VICKIE RENEE DARROUGH	APPELLANT



V.



THE STATE OF TEXAS	STATE



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FROM THE 396
TH
 DISTRICT COURT OF TARRANT COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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Vickie Renee Darrough appeals from the trial court’s judgment adjudicating her guilt for robbery causing bodily injury. &nbsp;We will affirm.

Appellant’s court-appointed appellate counsel has filed a motion to withdraw as counsel and a brief in support of that motion. &nbsp;In the brief, counsel avers that, in his professional opinion, this appeal is frivolous. &nbsp;Counsel’s brief and motion meet the requirements of 
Anders v. California
, 386 U.S. 738, 87 S. Ct. 1396 (1967), by presenting a professional evaluation of the record demonstrating why there are no arguable grounds for relief. &nbsp;Additionally, this court informed appellant that she may file a pro se brief, but she has failed to do so.

Once appellant’s court-appointed counsel files a motion to withdraw on the ground that the appeal is frivolous and fulfills the requirements of 
Anders
, this court is obligated to undertake an independent examination of the record and essentially to rebrief the case for appellant to see if there is any arguable ground that may be raised on appellant’s behalf. &nbsp;
See Stafford v. State
, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991). &nbsp;Because this is an appeal from the trial court’s adjudication of appellant’s deferred adjudication community supervision, our independent review for potential error is limited to jurisdictional defects and post-adjudication matters unrelated to appellant’s conviction. &nbsp;
See Nix v. State,
 65 S.W.3d 664, 667-68 (Tex. Crim. App. 2001); 
Vidaurri v. State,
 49 S.W.3d 880, 885 (Tex. Crim. App. 2001); 
Manuel v. State,
 994 S.W.2d 658, 661-62 (Tex. Crim. App. 1999). &nbsp;The trial court’s decision to adjudicate is not appealable. &nbsp;
Tex. Code Crim. Proc. Ann.
 art. 42.12, § 5(b) (Vernon Supp. 2004).

Our independent review of the record reveals that counsel has correctly determined that there are no arguable grounds for relief. &nbsp;There are no jurisdictional defects. &nbsp;The information conferred jurisdiction on the trial court and provided appellant with sufficient notice to prepare a defense. &nbsp;
See
 Tex. Const. 
art. V, § 12(b); 
Tex. Code Crim. Proc. Ann. 
art. 4.05 (Vernon Supp.
 2004); 
Duron v. State
, 956 S.W.2d 547, 550-51 (Tex. Crim. App. 1997). &nbsp;In addition, the trial court had jurisdiction to adjudicate appellant’s guilt and sentence her, and the sentence is within the punishment range for the adjudicated offense. &nbsp;
See
 Tex. Code Crim. Proc. Ann.
 arts. 4.05, 42.12, § (5)(b); 
Tex. Penal Code Ann.
 §§ 12.33, 29.02 (Vernon 2003).

Accordingly, we grant counsel’s motion to withdraw and affirm the trial court’s judgment.

PER CURIAM

PANEL F:	CAYCE, C.J.; WALKER and MCCOY, JJ.



DO NOT PUBLISH

Tex. R. App. P.
 47.2(b)



DELIVERED: July 8, 2004

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




